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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10    AMERICAN NATIONAL                       CASE NO.: 2:20-cv-08502 RGK (Ex)
      INSURANCE COMPANY, a Texas
11    Corporation,
                                              JUDGMENT
12                   Plaintiff,
                                              District Judge:   Hon. R. Gary Klausner
13          v.                                Magistrate Judge: Hon. Charles F. Eick
14    VARTAN AKOPYAN, Trustee of              Action Filed: September 16, 2020
      the Sogomon Akopyan Family              Trial Date: December 7, 2021
15    Irrevocable Life Insurance Trust, and
      DOES 1 through 10, inclusive,
16
                  Defendants.
17
18    AND ALL RELATED
      COUNTERCLAIMS
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21          Judgment is hereby entered in favor of Plaintiff and Counterclaim-Defendant
22    American National Insurance Company (“ANICO”) and against Defendant and
23    Counterclaimant Vartan Akopyan, Trustee of the Sogomon Akopyan Family
24    Irrevocable Life Insurance Trust, on all claims for relief in the Complaint (ECF 1)
25    and operative Amended Counterclaim (ECF 34).
26          ANICO was entitled to rescind the policy of life insurance issued on the life
27    of Sogomon Akopyan, on January 11, 2019, numbered U0681362 (the “Policy”), as
28    a result of the material misrepresentations and omissions made in connection with
                                             -1-
                                          JUDGMENT
      2045874v1                                                Case No. 2:20-cv-08502 RGK (Ex)
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 1    the application for the Policy. Therefore, the Policy is rescinded and is void
 2    ab initio, and ANICO has no obligation to pay any amounts in connection with the
 3    Policy or otherwise to the Defendant and Counterclaimant or any other person.
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 5    IT IS SO ORDERED.
 6    Dated: November 16, 2021
 7                                              HON. R. GARY KLAUSNER
                                                United States District Court Judge
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                                          JUDGMENT
      2045874v1                                                Case No. 2:20-cv-08502 RGK (Ex)
